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                                No. 22-2289


                                  IN THE
               United States Court of Appeals
                    for the Third Circuit
                    WINN-DIXIE STORES, INC., et al.,
                                    Plaintiffs-Appellants,
                                     v.
       EASTERN MUSHROOM MARKETING COOPERATIVE, INC., et al.,
                                Defendants-Appellees.

                           On Appeal from the
   United States District Court for the Eastern District of Pennsylvania
                       Honorable Berle M. Schiller
                            No. 5:15-cv-06480


       BRIEF FOR THE UNITED STATES OF AMERICA
   AS AMICUS CURIAE IN SUPPORT OF PANEL REHEARING


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                    INTEREST OF THE UNITED STATES
      The United States enforces the federal antitrust laws and has a strong interest

in their correct application. The United States submits this brief under Federal Rule

of Appellate Procedure 29(b) to address the panel’s discussion of the per se rule

under Section 1 of the Sherman Act, which could have a significant impact beyond

the instant case.

                                  STATEMENT

      A.      Legal Framework

      Section 1 of the Sherman Act prohibits every contract, combination, or

conspiracy that unreasonably restrains trade. 15 U.S.C. § 1; Ohio v. Am. Express

Co., 138 S. Ct. 2274, 2283 (2018) (citation omitted).           Restraints “can be

unreasonable in one of two ways.” Am. Express, 138 S. Ct. at 2283.

      First, some restraints are unreasonable per se based on their inherently

anticompetitive “nature and character.” Standard Oil Co. v. United States, 221 U.S.

1, 64-65 (1911). A price-fixing conspiracy among competitors is a “classic example

of a restraint of trade analyzed under the per se standard.” In re Chocolate

Confectionary Antitrust Litig., 801 F.3d 383, 395 (3d Cir. 2015).

      Second, “[r]estraints that are not unreasonable per se are judged under the

‘rule of reason,’” which entails “a fact-specific assessment” of the restraint’s

competitive effects. Am. Express, 138 S. Ct. at 2284 (citations omitted). Even under


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the rule of reason, sometimes a “quick look” can demonstrate a restraint’s

anticompetitive effects, and “no elaborate industry analysis is required.” Cal. Dental

Ass’n v. FTC, 526 U.S. 756, 770, 779-80 (1999).

      B.       Background

      Mushroom growers typically sell mushrooms to distributors, who sell those

mushrooms to retailers. See Winn-Dixie Stores, Inc. v. E. Mushroom Marketing

Coop., 81 F.4th 323, 329 (3d Cir. 2023) (“Op.”). The Eastern Mushroom Marketing

Cooperative (“EMMC”) is a cooperative of mushroom growers in the Eastern United

States. Id. at 328.1

      Many of EMMC’s member-growers have exclusive partnerships with

“specific, often legally related downstream distributors.” Op. 329. Distributors,

however, are “prohibited from actually joining [EMMC].” Id. Thus, EMMC’s rules

apply directly only to its member-growers, not partnering distributors. Id.

      In 2015, Plaintiffs-Appellants (“Winn-Dixie”) sued EMMC, its members, and

several downstream distributors under Section 1, alleging their participation in an

“overarching” conspiracy to fix mushroom prices.         Op. 328-30.     The alleged

conspiracy included EMMC’s establishment of a policy under which EMMC would




1
  Although some grower associations enjoy limited antitrust protection under the
Capper-Volstead Act, 7 U.S.C. § 291, the district court found such protection
inapplicable here. That ruling was not challenged on appeal.
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“circulat[e] minimum price lists” for mushroom sales, requiring its members to

“uniformly charge those prices to all customers.”2 Id. at 328.

      Winn-Dixie filed a pre-trial motion seeking “quick-look” scrutiny of the

conspiracy. Op. 330. That motion was denied, and the jury subsequently returned

a verdict for the defendants under the rule of reason—despite finding that EMMC

participated in an “overall conspiracy” to “artificially increase mushroom prices.”

Id. Winn-Dixie appealed, asserting that the district court erred by failing to apply

its “requested quick look.” Id. at 331.

      The panel unanimously affirmed. At different points in its opinion, the panel

described the operation of the conspiracy differently. The panel initially described

the conspiracy as fixing “not the price at which [growers] sold the product, but

instead the price at which EMMC members hoped to coerce downstream distributors

to go to market.” Op. 328-29 (emphasis added). Elsewhere, however, the panel

described the conspiracy as “an agreement by EMMC members to set the prices they

themselves charged to vertically oriented distributors,” in an “effort to boost the

prices those distributors charged to retailers.” Id. at 329 (emphasis added).




2
 The United States entered into a consent decree with EMMC in 2005 to enjoin its
“Supply Control” campaign used to enforce the minimum-price agreement. See
Final Judgment, United States v. Eastern Mushroom Marketing Cooperative, Inc.,
No. 04-cv-5829, 2005 WL 3412412 (E.D. Pa. Sept. 9, 2005).

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      The panel ultimately held that the conspiracy—despite being an agreement

among competing growers to fix prices—was not subject to per se or quick-look

condemnation because the agreement fixed downstream prices and relied on

participation by downstream distributors. Op. 333-34. The panel explained that the

price-fixing conspiracy thus was a “hybrid scheme,” somewhere “in between” a

“purely horizontal” and “vertical” arrangement, and accordingly could not be

deemed “obviously anticompetitive.” Id.

      The panel also characterized the scheme as involving “facilitating” vertical

restraints between growers and distributors, emphasizing that for the scheme to

work, member-growers had to make vertical agreements with non-member

distributors. Op. 333-34. Citing Leegin Creative Leather Products, Inc. v. PSKS,

Inc. 551 U.S. 877, 893 (2007), and Toledo Mack Sales & Services, Inc. v. Mack

Trucks, Inc., 530 F.3d 204, 225 (3d Cir. 2008), the panel concluded that even if “each

grower-distributor relationship formed to facilitate an upstream grower

[conspiracy],” those “facilitating agreements must be analyzed under the rule of

reason.” Id. at 334.

                                   ARGUMENT
      Longstanding precedent establishes that price-fixing conspiracies among

competitors are per se unlawful. Under the facts set forth in the panel opinion, the

per se rule applies to the minimum-price conspiracy.

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      Winn-Dixie, however, opted not to press per se condemnation of the

conspiracy. Despite this forfeiture, the panel stated that “per se condemnation is

simply not appropriate,” Op. 334, in conflict with controlling precedent not

addressed in its opinion.       Left uncorrected, the panel’s analysis could be

misconstrued to call into question long-established principles of antitrust law.

      Although Winn-Dixie’s previous arguments may limit the Court’s ability to

alter its judgment, the Court should order rehearing either to (i) state that the per se

issue was forfeited and amend its opinion to avoid any conflict with controlling

precedent or (ii) apply the per se rule.

      I.      Application of the Per Se Rule Was Forfeited

      Winn-Dixie forfeited any argument for the per se rule by not raising it on

appeal. 3 The United States takes no position on whether the panel should excuse

this forfeiture, see Barna v. Bd. of Sch. Directors of Panther Valley Sch. Dist., 877

F.3d 136, 147-48 (3d Cir. 2017), but urges the panel to at least make clear that the

per se argument was not properly presented. Otherwise, its opinion could be misread

to suggest that a price-fixing conspiracy among competitors may evade per se

condemnation if the conspirators recruit non-competing parties into their conspiracy




3
  Winn-Dixie opted out of a parallel class action (that settled before final judgment)
in which the district court had held the per se rule inapplicable.

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or fix prices elsewhere in the distribution chain.4 Both misreadings would depart

from well-established law and implicate the government’s ability to bring

enforcement actions against similar conspiracies.

      II.    The Per Se Rule Governs the Conspiracy Described in the Panel
             Opinion

      Because the parties litigated this case assuming that the per se rule did not

apply, the panel did not have the benefit of briefing on several controlling precedents

and authorities from other circuits. Those decisions hold that an agreement among

competitors to fix their own or downstream prices is per se illegal, regardless of

whether the conspiracy also includes vertically-related parties.

      A.      An Agreement Among Competitors To Fix Their Own or
              Downstream Prices Is Per Se Illegal.

      A horizontal agreement is “an agreement among competitors on the way in

which they will compete with one another.” NCAA v. Bd. of Regents, 468 U.S. 85,

99 (1984); see Lifewatch Servs. Inc. v. Highmark Inc., 902 F.3d 323, 335 (3d Cir.

2018). 5 Among horizontal agreements, the Supreme Court “has consistently and



4
  The United States likewise takes no position on the antecedent question of whether
Winn-Dixie preserved its quick-look argument, or whether Winn-Dixie adequately
established the other elements of a Section 1 claim, including proving injury from
the alleged violation.
5
  By contrast, “vertical” restraints are “imposed by agreement between firms at
different levels of distribution” on matters over which they do not compete. In re
Ins. Brokerage, 618 F.3d 300, 318 (3d Cir. 2010) (citation omitted).
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without deviation adhered to the principle that price-fixing agreements are unlawful

per se.” United States v. Socony-Vacuum Oil Co., 310 U.S. 150, 218 (1940).6 Price-

fixing agreements include agreements “raising, depressing, fixing, pegging, or

stabilizing” prices. Id. at 223.

      Applying that definition here, the per se rule governs the minimum-price

conspiracy. In certain passages, the panel opinion characterizes the conspiracy as

fixing the prices that the grower-conspirators themselves charged. See Op. 329 (the

conspiracy was an agreement to “set the prices [member-growers] themselves

charged to vertically oriented distributors”). By that characterization, the conspiracy

has no vertical element. Where “competitors at the same market level agree to fix

or control the prices they will charge,” that is horizontal price fixing. See United

States v. Brown University, 5 F.3d 658, 670 (3d Cir. 1993). That definition plainly

applies to the panel’s description of the conspiracy as an “agreement among

competitors (growers) to fix prices.” Id. at 334.

      Per se treatment remains appropriate even if, as the opinion elsewhere states,

the conspiracy set “the price at which EMMC members hoped to coerce downstream

distributors to go to market.” Op. 328-29. An agreement between competitors is



6
  Although there is a defense to per se condemnation for “ancillary restraints,” under
which the rule of reason applies, Ins. Brokerage, 618 F.3d at 345, EMMC has not
raised or established an ancillarity defense here.

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horizontal even if its effects are directed downstream. Indeed, that same scenario

was addressed in Kiefer-Stewart Co. v. Joseph E. Seagram & Sons, where two liquor

manufacturers conspired to fix downstream prices. 340 U.S. 211, 213-14 (1951),

overruled on other grounds by Copperweld Corp. v. Indep. Tube. Corp., 467 U.S.

752 (1984). The Court nevertheless held that the manufacturers’ restraint was a

horizontal combination “formed for the purpose of [fixing] the price of a

commodity,” and therefore “illegal per se.” Kiefer-Stewart, 340 U.S. at 213.

      B.     Distributors’ Participation Does Not Exempt a Horizontal Price-
             Fixing Conspiracy from Per Se Treatment.

      Despite concluding that the conspiracy consisted of an “agreement among

competitors (growers) to fix prices,” the panel held that the complexity of the

business arrangements in this case—including the scheme’s “dependence on

downstream, non-EMMC members”—rendered the scheme a “hybrid,” rather than

horizontal, restraint. Op. 333-34. The Supreme Court has not recognized any such

category of “hybrid restraints,” and the panel’s characterization of the conspiracy as

not being horizontal because it was “hybrid” conflicts with controlling precedent.

      Downstream distributors’ participation in the conspiracy does not change the

fact the conspiracy was horizontal—an agreement between competitors. In Socony-

Vacuum, a foundational case on price-fixing, several vertically integrated oil

companies agreed to purchase surplus gasoline at one market level to increase prices

downstream, relying on the participation of co-conspirators at multiple levels of the
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supply chain. 310 U.S. at 168-69, 213-14. The Court nevertheless concluded that,

because the agreement “eliminat[ed] one form of competition” between competing

oil companies (i.e., price competition), the arrangement was a horizontal agreement

subject to per se condemnation. Id. at 213; see NYNEX v. Discon, 525 U.S. 128, 133

(1998) (describing Socony-Vacuum as “finding [a] horizontal price-fixing

agreement”); Lifewatch, 902 F.3d at 336 (same). The Supreme Court has since

consistently affirmed that a horizontal conspiracy remains horizontal even if a

vertically-related party participates. United States v. Gen. Motors Corp., 384 U.S.

127, 145 (1966) (applying per se rule to horizontal price-fixing agreement, even

though vertically related party policed the arrangement); Klor’s, Inc. v. Broadway–

Hale Stores, Inc., 359 U.S. 207, 209 (1959) (“wide combination consisting of

manufacturers, distributors and a retailer” engaged in per se illegal agreement); Bus.

Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 730 n.4 (1988) (manufacturer’s

restraint resulting from horizontal agreement between distributors is horizontal, “not

because it has horizontal effects, but because it is the product of a horizontal

agreement”).

      Other circuits have followed suit. For example, United States v. Apple, 791

F.3d 290, 297 (2d Cir. 2015), held that a horizontal agreement between publishers,

orchestrated by a “vertical organizer,” was nevertheless a “horizontal conspiracy”

subject to the per se rule. Likewise, United States v. MMR Corp., 907 F.2d 489, 498

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(5th Cir. 1990), held that for purposes of the per se rule, where “there is a horizontal

agreement between [competitors], there is no reason why others joining that

conspiracy must be competitors.” Similarly, Com-Tel v. DuKane, 669 F.2d 404, 409

n.6, 412 (6th Cir. 1982), held that a manufacturer’s restraint to effectuate a horizontal

dealer boycott was horizontal. And Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 936

(7th Cir. 2000), held that the “essence” of an agreement between competitors that

also involved a vertical organizer “was horizontal.”

      The panel’s decision cannot be reconciled with these cases. Regardless of the

parties’ disagreement regarding the extent of the growers’ ownership over the

distributors, the facts set forth in the opinion make clear that under the alleged

conspiracy, competing growers agreed to fix prices by leveraging their relationships

with, or ownership of, their affiliated distributors (rather than compete amongst

themselves). This scheme benefited the conspirators through higher prices paid to

their related distributors and raised prices “in the marketplace as a whole.” Op. 329.

As in the cases above, neither the fact that some of the growers were vertically-

integrated entities, nor the fact that the agreement relied on participation by

distributors, alters the agreement’s horizontality. If anything, the inclusion of




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competing distributors in a grower conspiracy makes this conspiracy worse by

engendering price collusion at two levels.

       In concluding otherwise, the panel relied principally on dictum in Leegin—

later cited in Toledo Mack, 530 F.3d at 225—that, “[t]o the extent a vertical

agreement setting minimum resale prices is entered upon to facilitate [a horizontal

conspiracy],” it “would need to be held unlawful under the rule of reason.” 551 U.S.

at 893; accord Op. 332. But that dictum suggests only that a party who enters into

a separate vertical agreement facilitating a horizontal price-fixing conspiracy, but

who does not itself join that horizontal price-fixing conspiracy, is subject to full rule-

of-reason liability.

       In Toledo Mack, a Mack truck dealer challenged two agreements: (i) a

“horizontal agreement among [Mack] dealers” barring price competition, and (ii) a

“vertical agreement” between a single entity—Mack—and its dealers denying

discounts to dealers that competed on price. 530 F.3d at 218-19. The court applied

the rule of reason only to the vertical agreement because Mack had not joined the

horizontal conspiracy between the dealers. Id. at 221. This case is materially

different because, here, Winn-Dixie alleged—and the panel acknowledged—that

distributors joined the horizontal conspiracy among growers as co-conspirators. Op.

333.




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      Neither Leegin nor Toledo Mack suggests that a horizontal price-fixing

conspiracy escapes per se condemnation because it is facilitated in part by vertical

co-conspirators. Indeed, immediately before the sentence on which the panel relied,

Leegin stated that horizontal price-fixing conspiracies are “per se unlawful.” 551

U.S. at 893. It would be odd to read the following sentence as an end-run around

this well-established proposition, and various courts have rejected such a reading.

See, e.g., MM Steel, L.P. v. JSW Steel (USA) Inc., 806 F.3d 835, 849-50 (5th Cir.

2015) (Leegin did not “silently overrule[]” horizontality precedent); Apple, 791 F.3d

at 324 (same).

                                 CONCLUSION
     The panel should grant rehearing. If the panel excuses Winn-Dixie’s forfeiture

of the per se argument, the panel should hold the per se rule applicable to the

conspiracy. Otherwise, the panel should clarify that application of the per se rule

was forfeited and therefore not properly before it and amend its opinion as necessary

to avoid conflicting with the above-cited precedent. Finally, if it would aid the

panel’s analysis, the panel should order supplemental briefing.




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November 20, 2023

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                   CERTIFICATE OF BAR MEMBERSHIP
      Pursuant to Third Circuit Local Rules 28.3(d), 46.1(e), and 113.2(a), I certify

that I represent the United States and thus am not required to be a member of the bar

of this Court.



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      I certify that on November 20, 2023, I caused the foregoing to be filed through

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November 20, 2023

                                               /s/ Andrew W. Chang
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